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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                           Plaintiff,                                          8:14CR155

           vs.                                                    FINAL ORDER OF FORFEITURE

DOROTEO MANUEL PONCE,
JUAN GERARDO DELGADO,
GILBERT NAVARRO,


                           Defendants.




           This matter comes on before the Court upon the United States= Motion for Final Order of Forfeiture

(Filing No. 391). The Court reviews the record in this case and, being duly advised in the premises, finds as

follows:

           1. On November 3, 2015, this Court entered a Preliminary Order of Forfeiture (Filing No. 299),

pursuant to the provisions of Title 21, United States Code, Sections 841 and 853 based upon the Defendants’

pleas of guilty to Counts I, III, VII, and VIII and the Forfeiture Allegation of the Third Superseding Indictment

filed herein. By way of said Preliminary Order of Forfeiture, the Defendant=s interest in the following was

forfeited to the United States:

           (a) $3,893.93 seized on May 21, 2014 from Wells Fargo Bank account number ending in
           7005 in the name of Francisco J. Hurtado, DBA Martinez Auto Sales.

           (b) $740.46 seized on May 21, 2014 from Wells Fargo Bank account number ending in
           9400 in the name of Alberto Martinez. DBA Martinez Auto Sales.

           (c) $76,806.67 seized on May 21,2014 from Wells Fargo Bank account number ending
           in 7110 in the name of Riverside Auto Sales Inc.

           (d) $122.50 seized on June 18, 2014 from Wells Fargo Bank account number ending in
           5740 in the name of Jorge L Perez-Gutierrez.

           2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture site,

www.forfeiture.gov, for at least thirty consecutive days, beginning on December 8, 2015, as required by Rule
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G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions. A

Declaration of Publication was filed herein on February 19, 2016 (Filing No. 390).

        3. The Court has been advised by the United States no Petitions have been filed. From a review of the

Court file, the Court finds no Petitions have been filed.

        4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

        B.    All right, title and interest in and to the following held by any person or entity are hereby forever

barred and foreclosed:

        (a) $3,893.93 seized on May 21, 2014 from Wells Fargo Bank account number ending in
        7005 in the name of Francisco J. Hurtado, DBA Martinez Auto Sales.

        (b) $740.46 seized on May 21, 2014 from Wells Fargo Bank account number ending in
        9400 in the name of Alberto Martinez. DBA Martinez Auto Sales.

        (c) $76,806.67 seized on May 21,2014 from Wells Fargo Bank account number ending
        in 7110 in the name of Riverside Auto Sales Inc.

        (d) $122.50 seized on June 18, 2014 from Wells Fargo Bank account number ending in
        5740 in the name of Jorge L Perez-Gutierrez.


        C. The above property is forfeited to the United States of America.

        D. The United States is directed to dispose of said property in accordance with law.

        DATED this 19th day of February, 2016.


                                                     BY THE COURT:



                                                     s/ Joseph F. Bataillon
                                                     Senior United States District Judge




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